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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

                           Case No.: 1:19-cv-2457-MHC-JFK

LEWIS LAKE,

     Plaintiff,

v.

HAYT, HAYT & LANDAU, P.L.,
A PROFESSIONAL LIMITED
LIABILITY COMPANY (LLC),
and ELTMAN LAW, P.C.,

  Defendants.
___________________________________/

      DEFENDANT HAYT, HAYT & LANDAU, P.L.’S RESPONSE TO
     PLAINTIFF’S ADDITIONAL STATEMENT OF MATERIAL FACTS

        COMES NOW, the Defendant, HAYT, HAYT & LANDAU, P.L. (hereinafter

“HHL” or “Defendant”), by and through its undersigned counsel, and pursuant to

Local Rule 56.1(B)(3), files this Response to Plaintiff’s Statement of Additional

Material Facts [Doc 44-1], stating:

        1.        The Court may properly consider the respondent’s evidence for
                  purposes of the summary judgment motion.

        2.        The Court may properly consider the respondent’s evidence for
                  purposes of the summary judgment motion.
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3.    The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

4.    The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

5.    The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

6.    The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

7.    The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

8.    The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

9.    The respondent’s evidence does not support the respondent’s fact to the
      extent that the language was not contained within the body of the email.
      Otherwise, the Court may properly consider the respondent’s evidence
      for purposes of the summary judgment motion.

10.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

11.   The respondent’s evidence does not support the respondent’s fact
      regarding whether the email was directed to Plaintiff. Otherwise, the
      Court may properly consider the respondent’s evidence for purposes of
      the summary judgment motion.

12.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.




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13.   The Court may properly consider the respondent’s evidence regarding
      the date of the 1692g notice sent by HHL. Otherwise, the respondent’s
      evidence does not support the respondent’s fact.

14.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

15.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

16.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

17.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

18.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

19.   The respondent’s evidence does not support the respondent’s fact to the
      extent the fact suggests that the email identified a creditor and debtor.
      Otherwise, the Court may properly consider the respondent’s evidence
      for purposes of the summary judgment motion.

20.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

21.   The respondent’s evidence does not support the respondent’s fact to the
      extent that the language was not contained within the body of the email.
      Otherwise, the Court may properly consider the respondent’s evidence
      for purposes of the summary judgment motion.

22.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.



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23.   The respondent’s evidence does not support the respondent’s fact
      regarding identification of Plaintiff as a debtor. Otherwise, the Court
      may properly consider the respondent’s evidence for purposes of the
      summary judgment motion.

24.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

25.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

26.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

27.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

28.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

29.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

30.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

31.   The Court may properly consider the respondent’s evidence for
      purposes of the summary judgment motion.

32.   The respondent’s fact is not material.

33.   The respondent’s fact is not material.




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Dated this 31st day of January, 2020.


                                 Respectfully submitted,

                                 /s/ Ernest H. Kohlmyer, III
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                                 Attorneys for Defendant,
                                 Hayt, Hayt & Landau, P.L.




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on January 31, 2020, via the Court Clerk’s CM/ECF system which will

provide notice to the following: Clifford Carlson, Esquire of Cliff Carlson Law,

P.C. at cc@cliffcarlsonlaw.com and Ronald Edward Daniels, Esquire of Daniels

Law LLC at ron@dlawllc.com and William D. Taylor, III of Taylor Law, LLC at

trey@wdtaylorlaw.com (Attorneys for Plaintiff).


                                        /s/ Ernest H. Kohlmyer, III
                                        Ernest H. Kohlmyer, III
                                        Florida Bar No.: 110108




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